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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 EDEKKA, LLC,                                  )
                                               )
                Plaintiff                      )
                                               )
 v.                                            )       C.A. No. 2:14-cv-470
                                               )
 PC CONNECTION, INC.,                          )       JURY TRIAL DEMANDED
                                               )
                Defendant.                     )
                                               )


                         DEFENDANT PC CONNECTION’S
                      ANSWER AND AFFIRMATIVE DEFENSES

         PC Connection, Inc. (“PC Connection”) answers the individually numbered

 paragraphs of the Complaint of eDekka LLC (“eDekka”) and asserts Affirmative

 Defenses, as follows. All averments are denied unless specifically admitted herein:

                             PARTIES AND JURISDICTION

         1.     PC Connection admits that the Complaint purports to bring an action for

 patent infringement and requests injunctive and monetary relief.

         2.     PC Connection admits that this Court has subject matter jurisdiction over

 this case.

         3.     PC Connection is without sufficient information to admit or deny the

 allegations of this paragraph, and on this basis denies said allegations.

         4.     PC Connection admits that it is a Delaware corporation with an office

 located at 730 Milford Road, Merrimack, NH 03054. For the purposes of this action

 only, PC Connection does not contest that the Court has personal jurisdiction over PC

 Connection. The remainder of the allegations in this paragraph state legal conclusions to
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 which no response is required. To the extent any response is required, PC Connection

 denies the remaining allegations of paragraph 4 of the Complaint. PC Connection

 specifically denies having infringed any valid claim of the asserted patent.

        5.      The allegations in this paragraph state legal conclusions to which no

 response is required. To the extent any response is required, PC Connection denies the

 allegations of paragraph 5 of the Complaint. PC Connection specifically denies having

 infringed any valid claim of the asserted patent.

                                            VENUE

        6.      For the purposes of this action only, PC Connection does not contest that

 venue exists in this district, but denies that this district is the most convenient forum for

 adjudicating the claims alleged by eDekka in this action. PC Connection denies the

 remaining allegations of paragraph 6 of the complaint, and specifically denies that it is

 infringing the asserted patent.

                               COUNT I
          (INFRINGEMENT OF UNITED STATES PATENT NO. 6,266,674)

        7.      PC Connection incorporates by reference its responses to paragraphs 1

 through 6 of the Complaint.

        8.      Paragraph 8 of the Complaint states a legal conclusion to which no

 response is required. To the extent any response is required, PC Connection denies the

 allegations of paragraph 8 of the Complaint.

        9.      PC Connection is without sufficient information to admit or deny the

 allegations of this paragraph, and on this basis denies them.

        10.     PC Connection admits that Exhibit A to the Complaint appears on its face

 to be a copy of U.S. Patent No. 6,266,674 (“the ’674 Patent”). PC Connection is without
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 sufficient information to admit or deny whether the document is in fact a true and correct

 copy of the ’674 patent, and on this basis denies the allegation.

        11.     This paragraph states legal conclusions to which no response is required.

 To the extent any response is required, PC Connection denies the allegations of paragraph

 11.

        12.     PC Connection is without sufficient information to admit or deny the

 allegations of paragraph 12 of the Complaint, and on that basis denies them.

                               (Alleged Direct Infringement)

        13.     Denied.

        14.     Denied.

        15.     This paragraph states legal conclusions to which no response is required.

 To the extent any response is required, PC Connection is without sufficient information

 to admit or deny the allegations of paragraph 15 of the Complaint, and on that basis

 denies them.

                            EDEKKA PRAYER FOR RELIEF

        PC Connection denies the allegations in eDekka’s prayer for relief, specifically

 denies that PC Connection is infringing the ’674 Patent, and denies that eDekka is

 entitled to any of the relief it requested, or any relief whatsoever.

                                AFFIRMATIVE DEFENSES

        Without conceding that any of the following necessarily must be pled as an

 affirmative defense, or that any of the following is not already at issue by virtue of the

 foregoing denials, and without prejudice to PC Connection's right to plead additional
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 defenses as discovery of the facts of the matter warrant, PC Connection asserts the

 following affirmative defenses:

                             FIRST AFFIRMATIVE DEFENSE
                                 (Failure to State a Claim)

           The Complaint, and each and every purported claim for relief therein, fails to

 allege facts sufficient to state a claim against PC Connection, including, but not limited

 to, a failure to adequately plead claims for infringement against PC Connection.

                            SECOND AFFIRMATIVE DEFENSE
                                  (Noninfringement)

           PC Connection has not infringed and is not infringing any claims of the ’674

 Patent.

                             THIRD AFFIRMATIVE DEFENSE
                                      (Invalidity)

           The ’674 Patent and all of the claims thereof are invalid for failure to comply with

 one or more of the requirements for patentability, including those set forth in the Patent

 Act, such as 35 U.S.C. §§ 101, 102, 103, 112, and/or 185.

                            FOURTH AFFIRMATIVE DEFENSE
                                (Limitations on Damages)

           eDekka is barred from recovering damages from alleged infringement that

 occurred more than six years before this lawsuit was filed under 35 US.C. § 286. Further,

 any claim for damages for patent infringement is limited by 35 US.C. § 288.

                            FIFTH AFFIRMATIVE DEFENSE
                        (Waiver, Laches, Estoppel, and Acquiescence)

           The remedies requested by eDekka are barred in whole or in part by the equitable

 doctrines of waiver, laches, estoppel, and/or acquiescence due to actions and
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 circumstances including but not limited to eDekka’s unreasonable delay in asserting the

 patent-in-suit.

                                   PRAYER FOR RELIEF

         WHEREFORE, PC Connection prays that the Court:

         (a)       dismiss the Complaint;

         (b)       enter judgment declaring that PC Connection does not infringe and has not

 infringed, in any way, any claim of U.S. Patent No. 6,266,674;

         (c)       enter judgment declaring that the claims of U.S. Patent No. 6,266,674 are

 invalid;

         (d)       award PC Connection its costs taxable under 28 U.S.C. § 1920; and

         (e)       declare that this case is exceptional pursuant to 35 US.C. § 285 and award

 attorneys’ fees to PC Connection.
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                                    JURY DEMAND

        PC Connection demands a trial by jury on all issues so triable.



                                             Respectfully submitted,

 Dated: September 15, 2015                   PC CONNECTION, INC.


                                                 /s/ Matthew B. Lowrie
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                                             Attorneys for Defendant
                                             PC Connection, Inc.
 	  
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                             CERTIFICATE OF SERVICE

        I hereby certify that counsel of record who are deemed to have consented to

 electronic service are being served today, September 15, 2014, with a copy of this

 document via the Court's CM/ECF system pursuant to Local Rule CV-5(a)(3).



                                                 /s/ Matthew B. Lowrie
